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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

In re:                                     Case No. 18-30400-KKS
                                           Chapter 7
James Michael Freeland, III


         Debtors           /

   ORDER APPROVING CHAPTER 7 TRUSTEE’S APPLICATION TO
 RETAIN BK GLOBAL REAL ESTATE SERVICES AND THE CUMMINGS
 COMPANY TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO
            11 U.S.C. §§327, 328 AND 330 (DOC.) (DOC 26)
         This is before the Court on Chapter 7 Trustees, to Retain BK Global Real

 Estate Services and The Cummings Company to Procure Consented Public Sale

 pursuant to 11 U.S.C. § § 327, 328 and 330 (“Application”) [Docket No. 26], the

 Court having reviewed and considered the Notice, Application and the Affidavit of

 Disinterestedness and having found good and sufficient cause appearing therefor

 and the same to be in the best interest of Debtor and the creditors.

         It is hereby ORDERED as follows:

           1.   The Application is hereby APPROVED.

           2.   Defined terms not otherwise defined herein have the meanings given

 to them in the Application and the Affidavit.

           3.   The Trustee is authorized to retain and compensate BKRES and local

 licensed Listing Agent to provide the necessary professional assistance and

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representation required by the Trustee to fulfill the Trustee’s duties pursuant

to 11 U.S.C. § 704 in order to procure Secured Creditor’s Consent, and otherwise

market and sell the Property, in Debtor’s Chapter 7 case pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in

accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement and this Order. BKRES and Listing Agent shall not split or

otherwise share their fees with any other person or entity unless specifically

approved by this court.

        4.   BKRES and Listing Agent are disinterested persons within the

meaning of Bankruptcy Code Section 101(14).

        5.   BKRES and Listing Agent shall be compensated in accordance with

the BKRES Agreement and Listing Agreement, respectively, and such

compensation shall not hereafter be subject to challenge except under the standard

of review set forth in Section 330 of the Bankruptcy Code.




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        6.   BKRES and Listing Agent shall be authorized to receive and retain

their fees from Secured Creditor at the successful closing of the sale of the

Property without necessity of further order of the Court. The estate shall, in no

circumstance, be obligated to compensate or reimburse BKRES or Listing Agent in

such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,

through or under either of them, shall only have recourse for recovering its fee to

Secured Creditor. The estate shall have no liability for any such claim.

        7.   Trustee is hereby authorized to engage Brokers BKRES and Listing

Agent to provide reasonable and necessary property preservation, maintenance,

and upkeep services to the subject estate Property to facilitate the sale of the

Property for the benefit of the Secured Creditor(s) and bankruptcy estate, and to

reimburse the Brokers in a maximum amount not to exceed $500.00 for the

approved reasonable, necessary costs and expenses of preserving, or disposing of,

the subject Property, without the need for further Order only upon a sale of the

Property.




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        8.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.

                          November 30, 2018
      DONE AND ORDERED on _________________________.




                                        ____________________________________
                                        KAREN K. SPECIE
                                        U.S. Bankruptcy Judge


Submitted By:
Mary W. Colόn, Esq.,
Chapter 7 Trustee



Trustee Mary W. Colόn is directed to serve a copy of this order on interested
parties and file a proof of service within three (3) days of entry of the order.




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